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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

                                           )
 UNITED STATES OF AMERICA                  )
                                           )
                     v.                    )                 CR: 419-150
                                           )
 DALIBAGROU                                )
                                           )
                               PLEA AG REE ME NT

       Defendant Dali Bagrou, represented by his counsel Joshua Sabert Lowther,

and the United States of America, represented by Assistant United States Attorneys

Jennifer G. Solari and Steven H. Lee, have reached a plea agreement in this case.

The terms and conditions of that agreement are as follows.

1.     Guilty Plea

       Defendant agrees to plead guilty to Count One of the Third Superseding

Indictment, which charges a violation of 18 U.S.C. § 371.

2.     Elements and Factual Basis

       The elements necessary to prove the offense charged in Count One are (1) two

or more persons in some way agreed to try to accomplish a shared and unlawful plan;

(2) Defendant knew the unlawful purpose of the plan and willfully joined in it; (3)

during the conspiracy, one of the conspirators knowingly engaged in at least one overt

act as described in the indictment; and (4) the overt act was committed at or about

the time alleged and with the purpose of carrying out or accomplishing some object of

the conspiracy.
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       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:



                                  Parties Involved

      A. Company A, the identity of which is known to the parties and to the

Court, was a multinational company that specialized in industrial manufacturing.

Company A operated offices and production facilitie s throughout the United States.

      B. WORLD MINING AND OIL SUPPLY (''WMO") advertised as a

sourcing and supply company that specialized in industrial, mining, and oil and gas

products. Its corporate office was located in Dacula, Georgia.

      C. DALI BAGROU was the President, Owner and Managing Director of

Defendant WMO and operated from the WMO offices in Dacula, Georgia.

      D. GVA INTERNATIONAL OIL AND GAS SERVICES (a/k/a "GVA

INTERNATIONAL DMCC"), based in Italy, was a business that offered services

in electrical engineering, mechanical and HVAC engineering, and energy and

communication systems in the oil/gas, petrochemical, manufacturing and energy

industries.

      E. GABRIELE VILLONE was the Commercial Director and Manager of

Defendant GVA INTERNATIONAL OIL AND GAS SERVICES.

      F. BRUNO CAPARINI was the Commercial Director of an Italian

engineering and construction company based in Italy.




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       G. KS ENGINEERING (a/k/a "KS-INZHINIRING CO. LTD." and "KS-

INZHINIRING, LLC,") was an engineering service company based in St.

Petersburg, Russia, that specialized in systems for coal, gas, oil, nuclear and

renewable energy power plants.

       H. ANTON CHEREMUKHIN was an employee of Defendant KS

ENGINEERING.

       I. OLEG VLAD ISLAVOVI CH NIKITIN was the General Director of

Defendant KS ENGINEERING.

       J. Company B , the identity of which is known to the parties and to the

Court, was a Russian government-controlled business based in Moscow and St.

Petersburg, Russia, that engaged in the extraction, production, transportation and

sale of oil and gas.

                                  The Commodity

       K. The commodity at issue ("the Commodity") was a Vectra 40G power

turbine designed and manufactured for integration with gas generators to enable

direct drive of high power gas compressors.

                       Licensing Requirements and Status

       L. The U.S. Department of Commerce required an export license for the export

of the Commodity when the Commodity would be used directly or indirectly in

exploration for, or production of, oil or gas in Russian deepwater (greater than 500

feet) or Arctic offshore locations or shale formations, or when one was unable to




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determine whether the item would be used in such projects. (15 C.F.R. Part 746.5

("Russian Industry Sector Sanctions")).

      M. At no time did t he defendants, WORLD MINING AND OIL SUPPLY

(''WMO"), DALI BAGROU, GVA INTERNATIONAL OIL AND GAS SERVICES,

BRUNO CAPARINI, KS ENGINEERING, ANTON CHEREMUKHIN, OLEG

VLADISLAVOVICH NIKITIN, G.V. or Company B apply for, receive or possess a

license or authorization from The Department of Commerce - BIS, to export the

Commodity.




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                                     COUNT ONE
                                      Conspiracy
                                      U.S.C. § 371

      N.      Beginning on a date unknown, but at least in or around September

20 17, and continuing until on or about August 28, 2019, in Chatham and Richmond

Counties, within the Southern District of Georgia, and elsewhere, the defendant,

DALI BAGROU, did knowingly and willfully combine, conspire, confederate, and

agree wit h other persons to commit certain offenses, to wit:

      a. Violation of IEEPA, in that the defendant conspired to willfully export,

           attempt to export, and attempt to cause the export of the Commodity from

           the United States when the Commodity would be used directly or indirectly

           in exploration for, or production of, oil or gas in Russian deepwater (greater

           than 500 feet) or Arctic offshore locations or shale formations, or when one

           was unable to determine whether the item would be used in such projects,

           without first having obtained the required licenses or authorizations from

           BIS, in violation of Title 50, United States Code, Sections 1702 and 1705;

           and 15 C.F.R. P art 746.5 and 764.2(a)-(k) ;

      b. Violation of ECRA, in that the defendant conspired to willfully export,

           attempt to export, and cause t he export of the Commodity from the United

           States when the Commodity would be used directly or indirectly in

           exploration for, or production of, oil or gas in Russian deepwater (greater

           than 500 feet) or Arctic offshore locations or shale formations, or when one

           was unable to determine whether the item would be used in such project s,


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     without first having obtained the required licenses or authorizations from

     BIS, in violation of 50 U.S.C. § 4819 and 15 C.F.R. Part 746.5 and 764.2(a)-

     (k); and

  c. Smuggling, in that the defendant conspired to fraudulently and knowingly

     export and send, and attempt to cause to be exported and sent, from the

     United States, merchandise, articles, and objects contrary to a law and

     regulation of the United States, that is, Title 18, United States Code,

     Sections 1343, and 50 U.S.C. §§ 1705 and 4819, in violation of Title 18,

     United States Code, Section 554.

  d. Conspiracy to defraud the Department of Commerce by interfering with a nd

     obstructing a lawful government function, that is, the enforcement of laws

     and regulations prohibiting the export or supply of goods from the United

     States to restricted parties without authorization or a license, by deceit,

     craft, trickery, and dishonest means.

                       Objects of the Conspiracy

  0. The objects of the conspiracy were:

        a. to illegally enrich the conspirators by unlawfully exporting goods

           from the United States;

        b. to evade the regulations, prohibitions, and licensing requirements

           of the IEEPA, the ECRA, and the EAR; and




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            c. to conceal the prohibited activities from Company A and the United

                States Government so as to avoid penalties and disruption of the

                illegal activity.

                     Manner and Means of the Conspiracy

      P. It was a part of the conspiracy and among its manner and means that some

of the defendants, aided and abetted by each other and others:

            a. entered into contracts for the purpose of procuring the Commodity

                from Company A;

            b. knowingly included materially false information in the contracts to

                obscure the true end user and end use of the Commodity;

            c. knowingly created additional false corporate documents a nd

                business plans to further obfuscate the intended end user and end

                use of the Commodity;

            d. knowingly provided Company A materially false and fraudulent

                information re garding the end user and end use of the Commodity;

            e. transmitted and caused to be transmitted email communications by

                wire in interstate and foreign commerce; and

            f. transmitted and caused to be transmitted monetary payments by

                wire in interstate and foreign commerce.




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                                 Overt Acts

   Q. In furtherance of the conspiracy and to accomplish its objects, the

      defendant DALI BAGROU and others caused to be committed, in the

      Southern District of Georgia and elsewhere, at least one of the following

      overt acts:

      a. On or about September 14, 2017, DALI BAGROU contacted Company

         A via email and requested a service manual for the Commodity, stating

         that the company he represented wanted to couple it with a General

         Electric gas generator model LM2500 (the "LM2500 Gas Generator").

         Company A replied that it would only share its proprietary information

         with bona fide end users of the Commodity or their authorized agents.

      b. On or about October 18, 2017, BAGROU falsely responded to

         Company A via email that his company, WMO, would be the end user

         of the Commodity and that it would be used in Atlanta, Georgia.

      c. On or about October 24, 2017, Company A replied to BAGROU that it

         knew the Commodity would not be installed in Atlanta, Georgia, and

         reiterated that Company A required full disclosure of end use/end user

         information "to comply with EU/US export law." On the same date,

         BAGROU forwarded Company A's email to GABRIELE VILLONE.




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      d. On or about October 24, 2017, VILLONE drafted a series of materially

         false responses and other information, such as, "[the Commodity] will

         be buy (sic), delivered, 'installed' literally in United States Atlanta

         facilities," and "no export outside US." VILLONE emailed the

         response to BAGROU and directed him to send it to Company A.

      e. On or about February 27, 2018, KS ENGINEERING, by and through

         ANTON CHEREMUKHIN and OLEG VLADISLAVOVI CH

         NIKITIN, sent a draft contract proposal to GVA INTERNATIONAL

         OIL AND GAS SERVICES, by and through VILLONE. In the

         contract, GVA INTERNATIONAL OIL AND GAS SERVICES

         agreed to obtain and sell the Commodity to KS ENGINEERING. The

         agreement falsely stated that the Commodity would be used at the

         "Mordovskiy sugar factory, LLC," in Russia, which the parties to the

         contract and their representatives knew to be false.

      f. On or about March 5, 2018, KS ENGINEERING, by and through

         CHEREMUKHIN and NIKITIN, submitted a technical proposal to

         Company B, in which KS ENGINEERING proposed to provide the

         Commodity to Company B for use with the LM2500 Gas Generator as

         part of a Turbogenerator on the Prirazlomnaya Marine Ice-Resistant

         Stationary Platform.




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       g. On or about June 22, 2018, with the advice and direction of VILLONE,

           BAGROU contacted Company A and again inquired about purchasing

           the Commodity. BAGROU told Company A it was for a power plant

           that BAGROU was purportedly planning to build near Atlanta,

           Georgia. In fact, as VILLONE and BAGROU then knew, BAGROU

           had no plans to build a power plant in Georgia.

      h. On or about July 19, 2018, VILLONE sent a letter on behalf of GVA

           INTERNATIONAL OIL AND GAS SERVICES to KS

           ENGINEERING, confirming GVA INTERNATIONAL OIL AND

           GAS SERVICES's receipt of KS ENGINEERING's advance payment

           on May 8, 2018, and predicting delivery of the Commodity and other

           components to KS ENGINEERING on November 1, 2018.

      1.   On or about July 20, 2018, CHEREMUKHIN forwarded VILLONE's

           letter to Company B's Deputy Head of Office, Head of the MTR Supply

           Department, Office of Material and Technical Provision.

      J.   On or about July 23, 2018, BAGROU, with the assistance and

           direction of VILLONE, provided Company A with an affidavit and

           description of a proposed plan to use the Commodity to build a power

           unit generator in Savannah, Georgia, which plan VILLONE and

           BAGROU knew was fictitious and false.




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      k. On or about September 18, 2018, VILLONE emailed

         CHEREMUKHIN the fictitious and false affidavit and business plan

         submitted to Company A as evidence that BAGROU and VILLONE

         could successfully procure the Commodity from Company A.

      1. On or about September 30, 2018, VILLONE emailed BAGROU a

         series of instructions regarding additional false and fictitious

         information BAGROU was to provide to Company A.

      m. On or about October 15, 2018, VILLONE emailed BAGROU a

         contract between GVA INTERNATIONAL OIL AND GAS

         SERVICES and BAGROU's company, which contract purported to

         establish a joint venture to build a "portable temporary generation

         power project." As VILLONE and BAGROU then knew, no such

         project was actually contemplated and the phony contract was created

         for the purpose of deceiving Company A.

      n. On or about November 1, 2018, VILLONE emailed BAGROU another

         series of instructions regarding additional false and fictitious

         information BAGROU was to provide to Company A.

      o. On or about November 22-December 2, 2018, BAGROU traveled to

         Dubai, UAE, to meet with VILLONE and CHEREMUKHIN

         regarding the purchase of The Commodity.




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      p. On or about November 24, 2018, VILLONE sent a payment, which

         originated outside the U.S. , from GVA INTERNATIONAL OIL AND

         GAS SERVICES to BAGROU's company in the amount of

         $980,000.00 USD. VILLONE then emailed BAGROU, "first payment

         as per our contract 15 oct 2018 [The Commodity] 980,000 has been

         sent."

      q. On or about November 28, 2018, with the advice and direction of

         VILLONE, BAGROU sent proof of $980,000.00 USD in available

         funds to Company A and asked for a formal proposal to finalize the

         sale of the Commodity.

      r. On or about December 11, 2018, after BAGROU sent several more

         inquiries to Company A, VILLONE forwarded the inquiries to

         CHEREMUKHIN and cautioned him to wait for Company A's

         response, stating, "Daily we are pushing them."

      s. On or about December 13, 2018, VILLONE sent multiple payments,

         which originated outside the U.S. , from GVA INTERNATIONAL to

         BAGROU's company, totaling $1,000,000.00 USD, purportedly for "for

         the project energy [the Commodity]."

      t. On or about December 13, 2018, VILLONE emailed BAGROU to

         notify BAGROU of the deposit "from our account in Raiffeisen fast

         wire (BNP Paribas) Pol #1 ,000,000 one million usd[.]"




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       u. On or about December 14, 2018, VILLONE emailed

          CHEREMUKHIN to inform him about the $1,000,000.00 USD

          transfer to BAGROU's company.

       v. On or about December 26, 2018, VILLONE requested the assistance of

          an engineer to assure Company A about the feasibility of the purported

          energy project, falsely telling the engineer that BAGROU's company

          was the end user of the Commodity and providing t he engineer with

          the false and fictitious business plan.

       w. On or about December 29, 2018, VILLONE emailed BAGROU a

          response to Company A's questions about the purported energy project,

          which VILLONE and BAGROU both knew contained materially false

          and misleading information. VILLONE instructed BAGROU to

         "remember to save my file in your computer open it and save again

         then send what you have save (sic)! don't send this file attached

          directly (my file (sic) are with my computer id)."




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      x. On or about February 8, 2019, BAGROU received and forwarded a

         budgetary proposal from Company A for the purchase of the

         Commodity at $7,500,000.00 USD, which BAGROU forwarded to

         VILLONE. VILLONE then forwarded the proposal (with the

         Company A price redacted) to CHEREMUKHIN. VILLONE

         informed CHEREMUKHIN that the price for the Commodity was

         higher than expected because it was no longer in production and

         because it was under a "strict end user control."

      y. On or about February 23, 2019, after additional questions about the

         purported energy project from Company A, and after consultation with

         VILLONE, BAGROU spoke with an Undercover Agent ("UCA")

         located in Savannah, GA, and told the UCA that he would like to

         purchase the Commodity from a company other than Company A.

      z. On or about March 8, 2019, following further conversation with the

         UCA and after consultation with VILLONE, BAGROU sent Company

         A an email confirming he was no longer interested in purchasing the

         Commodity through Company A. On the same date, BAGROU

         reached an agreement with the UCA to purchase the Commodity

         through the UCA's company.




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     aa. On or about April 6, 2019, VILLONE drafted an email to the UCA

        which he instructed BAGROU to send, in which VILLONE and

        BAGROU agreed to purchase the Commodity from the UCA's

        company for $6,500,000.00 USD.

    bb.On or about May 8, 2019, VILLONE forwarded CHEREMUKHIN

        photographs of the Commodity and stated, "tomorrow i will travel to

        USA ... to meet [the UCA] personally in Georgia .. . . I decided to go

        personally due to the sensitive step of the deal." VILLONE also

       forwarded pictures of the Commodity to CAPARINI.

    cc. On or about May 10, 2019, VILLONE and BAGROU met with the

        UCA in Augusta, GA, to discuss the sale of the Commodity to

       BAGROU's company. The parties agreed that BAGROU and

       VILLONE would provide a $2,750,000.00 USD down payment to the

       UCA's company toward purchase of The Commodity.




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     dd. On or about May 13, 2019, VILLONE , on behalf of GVA

        INTERNATIONAL OIL AND GAS , sent CHEREMUKHIN and KS

        ENGINEERING a letter summarizing his meeting with the UCA. In

        his letter, VILLONE wrote, "My personal impression of [the UCA]

        after 2 hours of discussion is that he is a REAL manager involved in

        [Company A] business and he considerate (sic) us a very interesting

        USA 'customer' for our energy production program. He believe (sic)

        that. He AWARE US (sic) that ROSNEFCompany linked from Russia

        contacted AGAIN ONE MONTH AGO ASKING FOR [THE

        COMMODITY] from Russia!!!!! Of course [Company A] refuse (sic) but

        the attention is still very high. Therefore please ask client TO STOP

        ASKING FOR [THE COMMODITY] We have [the Commodity] now

        with this way."

     ee. On or about June 26, 2019, BAGROU, with the advice and direction of

        VILLONE , wired a total of $2,750,000.00 USD , which funds had been

        previously transferred from a bank account in Poland into a bank

        account controlled by BAGROU, to an account belonging to the UCA's

        company inside the United States.

     ff. On or about August 17, 2019, BAGROU engaged in a telephone

        conversation with the UCA about purchase of The Commodity in which

        the UCA told BAGROU that The Commodity was going to Company B

        and that The Commodity "can't go there legally."


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     gg. On or about August 19, 2019, BAGROU engaged in a telephone

          conversation with the UCA about purchase of The Commodity in which

          BAGROU acknowledged reading an email from the UCA stating, "Per

          [Company A] Compliance, [Company B] was added to the Department

          of Commerce's Entity List in 2014. Although these [Commodities] are

          EAR99, they would still require a Commerce License to be exported to

          [Company B], Prirazlomloye. We know that is where these will be

          used; I won't apply for a license as one will not be approved."

    hh.On or about August 25, 2019, BAGROU engaged in a telephone

          conversation with the UCA in which the UCA told BAGROU that

          breaking sanctions rules "will put all of us in jail," or words to that

          effect. BAGROU told the UCA to calm down, and stated, "Now,

          obviously, I know we got some regulation, this, this, this, all of those

          things. We were trying to avoid that at maximum."

    11.   On or about August 27, 2019, VILLONE flew from outside the U.S. to

          Savannah, Georgia, to meet with the UCA and BAGROU to finalize

          the purchase of the Commodity.

    JJ. On or about August 28, 2019, VILLONE and BAGROU met with the

          UCA and another undercover agent in Savannah, Georgia, to discuss

          the sale of the Commodity. During the meeting, VILLONE discussed

          how the UCAs should falsify the shipping documents for the

          Commodity to conceal the true end use and user.


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       All in violation of Title 18, United States Code, Sections 371 and 2.

3.     Possible Sentence

       Defendant's guilty plea will subject him to the following maximum possible

sentence: 5 years' imprisonment, 3 years' supervised release, a $250,000 fine, such

restitution as may be ordered by the Court, and forfeiture of all forfeitable assets.

The Court additionally must impose a $100 special assessment per count of

conviction.

4.     No Promised Sentence

       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.     Court's Use of Sentencing Guidelines

       The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.            The Sentencing

Guidelines are based on all of Defendant's relevant conduct, pursuant to U.S.S.G. §


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lBl.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines

       a.    Use oflnformation

       Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range. Any incriminating information provided by

the defendant during his cooperation will not be used in determining the applicable

Guidelines range, pursuant to Section lB 1.8 of the Sentencing Guidelines.

       b.    Acceptance of Responsibility

       If the Court determines that Defendant qualifies for an a djustment under

U.S.S.G. § 3El.l(a), and the offense level prior to operation of§ 3El.l(a) is 16 or

greater, the government will move for an additional one-level reduction in offense

level pursuant to Section 3El.l(b) based on Defendant's timely notification of his

intention to enter a guilty plea.

7.     Agreement Not to Prosecute

       The government agrees not to prosecute Defendant for other offenses

committed in the Southern District of Georgia prior to the date of thi agreement,

which are of the same or similar character as those cited herein, with the

understanding by Defendant that no limitation shall be placed upon the Court's

consideration of information concerning the background, character, and conduct of

Defendant for the purpose of imposing an appropriate sentence, and such other


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offenses may be considered as relevant conduct pursuant to Section lB 1.3 of the

United States Sentencing Guidelines and Fed R. Crim. P. 8(a). Furthermore, the

government will make a recommendation to the U.S. Department of Commerce,

Bureau of Industry and Security, that it not pursue administrative penalties against

Defendant for alleged violations of 13 U.S.C. § 305 that occurred prior to the date of

this agreement, which are the same or similar character as those offenses cited

herein.

8.     Forfeiture

       a.    Defendant agrees to forfeit his interest in any property, real or personal,

which constitutes or is derived from proceeds traceable to the Title 18 offense to

which he has agreed to plead guilty, including the property located at 9545 Stoney

Ridge Lane, Alpharetta, Georgia 30022-7801 (hereinafter, the "Subject Property").

       b.    Defendant waives and abandons all right, title, and interest in the

Subject Property. Defendant agrees to take all steps requested by the government to

facilitate transfer of title of the Subject Property to the government. Defendant

further agrees not to file any claim, answer, or petition for remission or mitigation in

any administrative or judicial proceeding pertaining to the Subject Property. If any

such document has already been filed, Defendant hereby withdraws that filing.

       c.    Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture , or disposal

of property connected to this case. Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding


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notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

       d.    Defendant waives and abandons his interest in any other property that

may have been seized in connection with this case. Additionally, Defendant waives

any and all challenges on any grounds to the seizure, forfeiture , and disposal of any

property seized in connection with this case. Defendant specifically agrees to waive

any challenges arising under the Double Jeopardy Clause of the Fifth Amendment

and the Excessive Fines Clause of the Eighth Amendment.

9.     Financial Obligations and Agreements

       a.    Special Assessment

       Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

       b.    Required Financial Disclosures

       By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury a nd

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents of those reports

with the Court and the United States Probation Office. Defendant also authorizes


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the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        c.    Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        e.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        f.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations and forfeiture imposed by the


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judgment of the Court in this case will be placed on the Treasury Offset Program so

that any federal payment that Defendant receives may be offset and applied to the

judgment debt without regard to or affecting any payment schedule imposed by the

Court.

10.      Waivers

         a.    Waiver of Appeal

         Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if (1) the court enters a sentence above the statutory

maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

         b.    Waiver of Collateral Attack

         Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

         c.    FOIA and Privacy Act Waiver




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        Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

        d.    Fed. R. Crim. P. ll(f) and Fed. R. Evid. 410 Waiver

        Rule ll(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings.          Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.     Defendant's Rights

        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify a nd

present evidence, and to compel the attendance of witnesses.

12.     Satisfaction with Counsel


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       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

13.    Breach of Plea Agreement

       If Defendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the government is released from all of its

agreements regarding Defendant's sentence, including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidelines.          In addition, the

government may declare the plea agreement null and void, reinstate any counts t hat

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

14.    Entire Agreement

       This agreement contains the entire agreement between the government and

Defendant.

                                        DAVID H. ESTES
                                        ACTING UNITED STATES ATTORNEY


Date                                    Karl I. Knoche
                                        Chief, Criminal Division




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Date                                          an
                                        if ation Counsel
                                          United States Attorney



1/2.0,/2-1
Date                            Steven H. Lee
                                Assistant United States Attorney




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       I have read and carefully reviewed this agreement with my attorney.                I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



July 29, 2021
Date                                    D~~ e{endant
                                              ~
       I have fully explained to Defendant all of his rights , and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully

and completely understands it, and that his decision to enter into this agreement is

an informed, intelligent, and voluntary one.



July 20, 2021
Date                                    Joshua Sabert Lowther, Defendant's
Attorney




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